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          Of Attorneys for Defendant Cyrus Andrew Sullivan




                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

    UNITED STATES OF AMERICA,
                                                         Case No. 3:13-CR-00064-HZ
                                      Plaintiff,
                                                         DEFENDANT’S MOTION TO
          v.                                             WITHDRAW MOTION TO REVOKE
                                                         DETENTION ORDER AND TO
    CYRUS ANDREW SULLIVAN                                STRIKE HEARING

                               Defendant.
    ___________________________________


          Defendant, Cyrus Andrew Sullivan, through his attorney Per C. Olson, hereby

    withdraws his previously filed Motion to Revoke Detention Order (Document No. 28), and
    moves that the court strike the April 22 hearing date on the motion to revoke. This motion

    is made pursuant to a verbal plea agreement between the parties.

                 DATED this 9th day of April, 2013.

                                              HOEVET, BOISE & OLSON, P.C.



                                              s/ Per C. Olson
                                              Per C. Olson, OSB #933863
                                              Of Attorneys for Defendant




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     ORDER AND TO STRIKE HEARING
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